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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  SAVANNAH DIVISION

 IN THE MATTER OF:                              )
                                                )
 RONALD W. MCELHANEY,                           )
                                                )       CHAPTER 7 CASE NO.: 17-40839-EJC
                                                )
                                DEBTOR.         )

      TRUSTEE’S APPLICATION TO EMPLOY REAL ESTATE AGENT AND TO ENTER
                     INTO EXCLUSIVE LISTING AGREEMENT

 TO: THE HONORABLE EDWARD J. COLEMAN, III, JUDGE, UNITED STATES
 BANKRUPTCY COURT

         TIFFANY E. CARON., (“Petitioner”), shows the Court the following:

 1.      Petitioner is the duly qualified and acting trustee of the estate of the above-named debtor.


 2.      Among the assets in this case is this certain real property and the improvements thereon

         commonly known as:

                526 E. 46th Street, Savannah, Georgia 31405

 3.      In order to market the real property most effectively and thereby to liquidate the same for

         the best and highest price, applicant has solicited the assistance of Heather Booth, a licensed

         real estate agent, employed by Cora Bett Thomas Realty, who has examined said real

         property and has agreed to advertise said property, to show said property to interested

         parties, to represent the estate as seller in connection with the sale of said property, and to

         advise applicant with respect to obtaining the highest and best offers available in the present

         market for said property.

 4.      Based on the foregoing, applicant desires to employ Heather Booth as real estate agent to

         procure and submit to applicant offers to purchase the said real property. In consideration for

         said services, Heather Booth will receive as commission, upon consummation of any such
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        sale, an amount equal to six percent (6%) of the purchase price. Applicant believes that the

        proposed commission is reasonable in light of the commissions charged by other realtors in

        the Chatham County, Georgia, area. Attached hereto as Exhibit "A" is a true and correct

        copy of the Exclusive Seller Listing Agreement which applicant proposes to enter into with

        the proposed realtor.

 5.     Heather Booth has been informed and understands that no sale may be consummated

        without this Court's approval, following notice and a hearing.

 6.     Applicant believes the employment of said real estate agent on the terms and conditions

        provided for herein is in the best interest of the estate.

 7.     Applicant is satisfied from the Declaration of Heather Booth that she is a disinterested

        person within the meaning of 11 U.S.C. § 101 (14).

 8.     Said realtor is aware of the provisions of 11 U.S.C. § 328(a) and has agreed,

        notwithstanding the terms and conditions of employment herein set forth, that the court may

        allow compensation different from the compensation provided herein if such terms and

        conditions prove to have been improvident in light of developments unanticipatable at the

        time of the fixing of such terms and conditions.

        WHEREFORE, applicant prays that she be authorized to employ Heather Booth as real

 estate agent on the terms and conditions set forth herein that she be authorized to enter into the

 Exclusive Seller Listing Agreement attached hereto with said realtor and Cora Bett Thomas Realty

 and that she be granted such other and additional relief as the Court deems equitable or appropriate.


        Dated this the September 28, 2017.



                                                          /s/ Tiffany E. Caron ________________
                                                          TIFFANY E. CARON.., Trustee/Petitioner
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 TIFFANY E. CARON, ESQ.
 GA BAR NO. 745089
 CHAPTER 7 TRUSTEE
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 912-234-1215
 TIFFANY.CARON@HOTMAIL.COM
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                                              )
 RONALD W. MCELHANEY,                         )
                                              )      CHAPTER 7 CASE NO.: 17-40839-EJC
                                              )
                               DEBTOR.        )

                                 CERTIFICATE OF SERVICE


        This is to certify that I have this date served the foregoing, APPLICATION OF
 TRUSTEE TO EMPLOY REAL ESTATE AGENT through CM/ECF or by depositing same in
 the United States Mail with sufficient postage affixed thereon, to those addressed below:

                 Judson C. Hill                                  Matthew E. Mills
                 Gastin & Hill                                 Assistant U.S. Trustee
                 P.O. Box 8012                               Office of the U.S. Trustee
              Savannah, GA 31412                          Johnson Square Business Center
                                                            2 East Bryan Street, Ste. 725
                                                               Savannah, GA 31401


        This the September 28, 2017.

                                                     s/ Tiffany E. Caron ________________
                                                     TIFFANY E. CARON.., Trustee/Petitioner




 Prepared by:
 TIFFANY E. CARON, ESQ.
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